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IN THE UNITED STATES I)ISTRICT C()URT
FOR TH`E DISTR]CT OF DELAWARE

l,ARRY MC`I{EYNOL.DS~ : L.`IV]I. AC`TI(`)N
P latin ii l`i`,
v.

CALVARY PORTT"OI,IO SERVICES
LLC.

Def`endant. No. l 1-358
()RI)ER

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ANI`) NOW. this O{i day of November. 201 l. Plainti Ff` appearing pro se and, having

been granted leave to proceed without prepayment ofi`ees under 28 U.S.C. § 1915;

[T [S III§RF.BY ORDERED:

I. On .luly 13. 201 l._ the (.`ourl entered an Order requiring Plaimi 1`1` lo complete and
remrn U.SM-ZSS forms and copies of the C`omplainl k`or Defendant. and informed Plaintil`[`lhal
the limited States Marshals Serviee would not serve the Complainl until all USM-ZSS forms were
received by the (.'lerk ol` (`ourt_. and that l'hilu.re lo provide the USM-.-'ZS§ forms within 120 days
|"rom the date o!`lhe Order may result in the Complainl being dismissed or Dei`endant being
dismissed pursuant lo Fed. R. C.iv. P. 4(111`). (D._l. 5.`}

2. l’iaintii`i`$l.lhmitled incomplete USM-2H5 forms on .Iulyr 23_ 201 l. and was
informed 0!` the deficiency on the game dale. ([).I. 6.)

3. `I`o dale. the required complete USM-285 forms have not been resubmitted by

Plain\i f`i`_

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[~J

